Case 2:10-md-02179-CJB-DPC Document 6376-2 Filed 04/27/12 Page 1 of 8

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Monday, March 19, 2012

Public Comment On MOULX Proposed Consent Decrce

in Re: - OH Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20,
2010; MDL 2179;
- D.. Ref, 99-5--1--1-10026.
- (Proposed Consent Deeree with VWIONX; Court Pleadings #5743 and 5743-1)

Via e-mail pubcomument-ees.cordicusdol. cay

Assistant Attorney General

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Assistant Allorney General

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Dar Str or Madam.

! submit {his Comment in response to the “Notice of Lodging of Preposed Conse
Decree under the Clean Water’. regarding the above matter, published by the Department of
Justice in the February 24, 2012 Federal Register (Vol. 77, No. 37; FR Doc, 2012-4368), |
submit this as a citizen of Louisiana and of the United States: and an attorney of record with

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sit HEvbibit 1” To Plaintiffs’ Memorandum In Support Of Motion To Intervene *
Case 2:10-md-02179-CJB-DPC Document 6376-2 Filed 04/27/12 Page 2 of 8

thousands of chents in the Deepwater Horizon matter. Further, | filed the first class action suits

in the Degmnvrater Horizon multi-district litigation on behalf of private plaintiffs as private
attorneys peneral that made claims under the “Citizens Suit” provisions of the Clean Water Act
(33 U.S.C. See 1365) for violations and enforcement of the Clean Water Act by and against BP,
ple: BP Exploration and Production. Inc.: BP America, Inc.: Anadarko Petroleum Corporation:
Mitsui Oil Exploration Co.. Ltd: et al.

As you know, the proposal would settle the civil penalties of defendant MOEX Offshore
2007 LLC (*MOEX”) under the Clean Water Act for $45 million’. This amount is very

inadequate.

[ request that the Department of Justice withdraw and withhold its consent to the
proposed judgment because i is inappropriate, improper and/or inadequate for the following

reasons.

1. The Proposed Penalty Is Inadequate at Even the $1,100/Barrel Penalty Rate.

tw}

. Phe Evidence Currently Known Indicates That The Incident Was An Act Of “Gross
Negligence”, Thereby Triggering the $4,300/Barrel Penalty Rate

a

- The Proposed Settlement is Even More Inadequate at the $4,300/Barrel Penalty Rate.

+. The Proposed Settlement Does Not Adequately Consider the “Penalty Factors” Of The
Clean Water Act.

- MOEX’s Lack Of Active Participation In The Drilling Operation Should Not Mitigate
its Liability.

6, MOLX’s Settlement With BP In This Matter Was At A Much Higher Rate Than The
U.S2s Proposed Settlement.

"Tom Garner v BP, pic; BP Exploration and Production, inc.; BP America, Ine.; Anadarko Petroleum Corporation;
Mitsui Oil Exploration Co. Lta.; Transocean Ltd., Transocean Offshore Deepwater Drilling, Inc.; Transocean
Deepwater, Inc.; Halliburton Energy Services, Inc.; and Cameron International Corporation f/k/a Cooper Cameron
Corporation (E.0.La, Civil Action No.# 10-01482 j{for Louisiana residents}; and

Grady Thigpen et al. v BP, pic; BP Exploration and Production, Inc.; BP America, inc.; Anadarko Petroleum
Corporation; Mitsui Olf Exploration Co. Ltd.; Transocean Ltd., Transocean Offshore Deepwater Drilling, Inc.;
Transocean Deepwater, lnc.; Halliburton Energy Services, inc.; and Cameron International Corporation f/k/a
Cooper Cameron Corporation (S.D. Ms., Civil Action # 10-cv-280; and, after transfer to E.D.La., #10-cv-3273}{for
Mississippi residents)
* The total amount of the Proposed Settlement is $90 million, as follows: $45 million to the United States, $25
million to the Gulf States affected by the spill, and $20 million for coastal environmental projects.

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Case 2:10-md-02179-CJB-DPC Document 6376-2 Filed 04/27/12 Page 3 of 8
7. Conclusion,

i. The Proposed Penatty Is Inadequate at Even the $1,100/Barrel Penalty Rate.

The Clean Water Act provides for fines in a situation such as this from $1.100 per barre!
spilled to, in the case of “gross negligence”, $4,300 per barrel.

The U.S. has estimated the amount spilled to have been 4.1 million barrels’.
MOEX owned a 10% in interest in the well.

Ifthe fine were assessed at £1.100/barrel, the total fine would be $4.51 billion. Moex’s
10% share would therefore be $451 million. The $45 million proposed setilement, however.
would be only 1% olf a $4.51 billion penalty against BP.

2. The Evidence Currently Known Indicates That The Incident Was An Act Of “Gross
Negligence”, Thereby Triggering the $4,300/Barrel Penalty Rate.

The Chief Counsel’s Report of the Presidential Commission made several findings that
could reasonably lead one to determine that the spill was the result of gross negligence:

The Chief Counsel*s team concluded that all of the technical failures at Macondo
can be traced back to management errors by the companies involved in the
incident. BP did not fully appreciate all of the risks that Macondo presented. It did
not adequately supervise the work of ifs contractors. who in turn did not deliver to
BP all of the benefits of their expertise. BP personnel on the rie were not
properly trained and supported, and all three companies failed to communicate
key information to people who could have made a difference.

Among other things:

BP did not adequately identify or address risks created by last-minute changes
to well desizvn and procedures. BP changed its plans repeatedly and up to the very
last minute, sometimes causing confusion and frustration among BP employees
and rie personnel.

* On 2 August 2010, the United States Department of Energy and the Flow Rate Technical Graup issued an estimate
that 4,9 million barrels of oil had flowed from the Macondo well, and 4.05 million barrels had been discharged into
the Gulf (the difference being the amount of oi] captured by vessels on the surface as part of the well containment
efforts). lts “Assessment of Flow Rate Estimates for the Deepwater Horizon/Macondo Well Oi Spill is available at:
htlio://www.daoipov/deepwaterhorizon/foader.cim?csModule=security/petfile&PagelD=237763 .

Case 2:10-md-02179-CJB-DPC Document 6376-2 Filed 04/27/12 Page 4 of 8

When BP did send instructions and procedures to riz personnel, ii often
provided inadequate detail and guidance.

ft is common in the offshore oil industry to focus on increasing efficiency to
save rig time and associated costs. But management processes must ensure
that measures faken to save time and reduce costs do not adversely affect
overall risk. BP*s management processes did not do so." (Emphasis added).

Further, the Chief Counsel's Final Report was but one of numerous reports. studies, and
hearings that came to similar findings, including those by:

~ the U.S. Coast Guard:

- the U.S. Mineral Management Service (now the Bureau of Ocean Energy,
Management. Regulation and Enforcement);

- the Deepwater Horizon Study Group:

- the Final Report of the National Commission on BP Deepwater Horizon and Offshore
Drilling: and

- numerous Congressional Committees.

Accordingly. in light of these factors, combined with MOEX’s knowledge of BP’s
history af violations, it is very likely that a trial would result in a determination of “grass
negligence” against MOEX as well as BP, thereby resulting in the increased fine of up to
ht. 300/barrel.

3. The Proposed Settlement is Even More Inadequate at the $4,300/Barrel Penalty Rate For
Acts of “Gross Negligence”.

If the Gne were assessed at $4, 300/barrel, and the total fine would be $17.63 billion.
Moex’s 10% share would therefore be $1.763 billion. The $45 million proposed seithement.
however, would be only 0.26% of a $17.63 billion penalty against BP.

4. The Proposed Settlement Does Not Adequately Consider the “Penalty Factors” Of The
Clean Water Act,

The Clean Water Act specifies several explicit factors that are to be considered when

” Executive Summary of Findings; Chief Counsels Report; National Commission on the BP Deepwater Horizon Cil
Spill and Offshore Drilling, p. xi. Available at: http://www. ocilspillcommission.gov/final-repart

Case 2:10-md-02179-CJB-DPC Document 6376-2 Filed 04/27/12 Page 5 of 8
assessiny a penalty”. Although this is a proposed settlement and not an assessment, there is

insufficient discussion of CWA’s penalty factors. Without such, it is not possible to determine if
the Proposed Settlement amount may be adequate. Therefore, the Proposed Settlement should be
withdrawn and revised also to include a discussion of how the amount relates to the penalty

factors.

5. MOEN's Lack of Active Participation in the Drilling Operation Should Not Mitigate ts
Liability.

In the years immediately preceding the Deepwater Horizon incident, BP had accumulated
by far the worst safety record of any major oi] company. As noted in a study discussed on
National Public Radio in the immediate aftermath of the explosion:

BP's safety record has come under intense scrutiny ever since the blowout and
resulting explosion at ils Deepwater Horizon offshore oil rig led to the

deaths of 11 workers, injuries to others, and the still uncontrolled spewing of tens
of thousands of barrels of crude oi! into the Gulf of Mexico.

On Monday, the Center for Public tnteprity reported that its analysis of
Occupational Safety and Health Administration records for the energy giant
revealed that it has racked up far more serious safety violations at its refineries
than iis competitors.

Ina report with the unambiguous titie "Renegade Refiner: OSHA Says BP Has
Systemic Safety Problem" the CPi. a Washington, D.C.-based watchdog
group writes thal 97 percent of the worst violations were found at BP refineries.

An excerpt from its report:

BP is battling a massive oi] well spill in the Gulf of Mexico afler an April
20 platform blast that killed 11 workers. But the firm has been under
intense OSHA scrutiny since its refinery in Texas City. Texas, exploded in
March 2005, killing 15 workers. While continuing Hs probe in Texas City,
OSHA launched a nationwide refinery inspection program in June 2007 in

° “In determining the amount of a civil penalty under paragraphs (6} and (7), the Administrator, Secretary, or the
court, as the case may be, shall consider the seriousness of the violation or violations, the economic benefit to the
violator, if any, resulting from the violation, the degree of culpability involved, any other penalty for the same
incident, any history of prior violations, the nature, extent, and degree of success of any efforts of the violator to
minimize or mitipate the effects of the discharge, the economic impact of the penalty on the violator, and any
other matters as justice may require.”

33 U.S.C. § 1321{b){8); (“Clean Water Act; Determination of Amount")

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Case 2:10-md-02179-CJB-DPC Document 6376-2 Filed 04/27/12 Page 6 of 8

response to a series of fires, explosions and chemical releases
throughout the industry.

Relinery inspection data obtained by the Center under the Freedom of
Information Act for OSHA's nationwide program and for the parallel!
Texas City inspection show thal BP recetved a total of 862 citations
between June 2007 and February 2010 for alleged violations at its
refineries in Texas City and Toledo, Ohio.

Of those, 760 were classified as “egregious willful" and 69 were classifted
as "willful." Thirty of the BP citations were deemed “serious” and three
were unclassified. Virtually all of the citations were for alleged violations
of OSHA's process safely management standard, a sweeping rule
soverning everything from storage of flammable liquids to emergency
shutdown systems. BP accounted for 829 of the 851 willful violations
amony all refiners cited by OSHA during the period analyzed by the
Center,

Top OSHA officials told the Center in an interview that BP was cited for
more egregious willful violations than other refiners because it failed to
correct the types of problems that led to the 2005 Texas City accident even
after OSHA pointed them out. In Toledo, problems were corrected in one
part of the refinery but went unaddressed in another. Jordan Barab, deputy
assistant secretary of labor for occupational safety and health, said it was
clear that BP "didn't go nearly far encugh" lo correct deficiencies after the
2005 blast.

“The only thing you can conclude is that BP has a serious, systemic safety
problem in their company,” Barab said.

Aside from the Texas City explosion, for which BP pleaded guilty to felony violations of
the Clean Air Act and a $50 million fine following the Texas City incident. other major recent
major safety violations by BP include a series of accidents in 2000 at BP*s Grangenouth,
Scotland petrochemical facility and a 2006 rupture of a corroded pipeline at Prudhoe Bay.

784
Alaska’.

*“3P Refinery Safety Record Industry's Worst: Watchdog”, National Public Radio, by Frank James, May 17, 2010.
Available at: |iiip://www.ner.org/blogs/thetwo-way/2010/05/bp refinery safety record induhtml

7 “Eps blamished safety record is off-limits in trial, judge rules”, Times Picayune, by Mark Schleifstein, February 9,

2012.
Available at: http://www.nola.com/news/gulf-oil-spill/index.ssf/2012/02/judge_rules_bps_blemished_safe.html
Case 2:10-md-02179-CJB-DPC Document 6376-2 Filed 04/27/12 Page 7 of 8

MOLEX was obviously willing to risk investing in a venture with BP while fully aware of-
BP's notorious and outstanding record of safety violations. It was a business decision MOEX
considered and was willing to take. Accordingly, the fact that MOEX was not an active partner
in the actual drilling of the well should not act as a factor to mitigate its culpability.

6. MOEX’s Settlement with BP in This Matter Was ata Much Higher Rate than the U.S.’s
Proposed Settlement.

MOLEX settled BP’s claims against it in this litigation for $1.065 billion (and MOEX’s
transfer of its leasehold interest, the worth of which is now highly questionable as a result of the
explosion and the sealing of the well."

BP has stated that its best estimate for its total cost for the spill is $37.2 billion”!

MOEX therefore has assumed responsibility with BP for 2.9% of BP’s anticipated
ltability.

As iroted above, however, the U.S. Proposed Settlement assesses MOLEX for only (a) [%
ol BP's fine Gf fined at $1,100/barrel). or (b) 0.26% (at $4,300/barrel). Even using the lower
$1.100/barrel formula, in other words, the U.S. Proposed Settlement assesses MOEX at only
one-third the rate (1%) that MOEX setlled with BP itself (2.9%)

" “wWlajor incident investigation report BP Grangemouth Scotland: 29" May - 10" June 2000".

Available at: http://www.hse.gov.uk/comah/bpgrange/index.htm

° “Biggest Oil Field in U.S. Is Forced to Stop Pumping”, New York Times: August 8, 2010.
Available at: http://www-nytimes.com/2006/08/08/business/O8oil.html?pagewanted=print

“Order and Reasons” (Regarding Motion in Limine to Exclude Settlement Evidence)", p. 2; February 7, 2012. Doc
ff SGO3. As this Court noted: “The BP-MOEX settlement obligates MOEX to pay BP the sum of $1,065,000,000,
transfer its L0% leasehold interest in MC252 to BP, and release BP from ali claims related to the Deepwater
Horizon incident. In turn, BP released MOEX from all of its potential claims against MOEX related to the incident
and agreed to indemnify MOEX for any Hability for numerous civi] claims in this MOL. MOEX also agreed to release
all of its claims against Anadarko and transfer to BP all of its third-party claims other than its claims against
Anadarko or any claims under MOEX’s offshore insurance policies. Additionally, the BP-MOEX settlement provides
that BP will reimburse MOEX 5% of any recoveries in excess of $25 billion from third parties such as Transocean
and Halliburton, up to the amount of $500 million.”

"89 Reaches Estimated $7.8 Billion Deal With Spill Victims”, Blaomberg News, March 14, 2012...
Available at: http: //www.businessweek.com/news/2012-03-14/bp-reaches-estimated-7-dot-8-bilion-deal-with-
spill-victims
Case 2:10-md-02179-CJB-DPC Document 6376-2 Filed 04/27/12 Page 8 of 8

7. Conelusion:

As Professor David Uhlmann of the University of Michigan Law School and the former
chief of the Justice Department's environmental crime section judiciously stated, this was only a

as 4
“modest settlement”. ©

Accordingly, | request that the Department of Justice withhold and withdraw its Consent to

the proposed Settlement and Judgment.

Sincerely,

Daniel E. Beenel, dr.

"(See “U.S Files Motion Seeking Moex Accord in BP Spill Case"; Bloomberg News; February 17,2012; Available
at: btip://www.bloomberg.com/news/2012-02-17/u-s-fites-motion-seeking-moex-settlement-in-bp-pulf-of-

mexico-spill-case html

